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                         UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF LOUISIANA

IN RE: DONNA FAYE WATTS                                            CASE NO. 18-11379
       MICHAEL DAVIS WATTS, SR.                                    CHAPTER 7


                                       CONSENT ORDER

       Considering the Motion for Relief (P-19) filed on behalf of NATIONSTAR MORTGAGE

LLC D/B/A MR. COOPER (“Creditor”), the agreement between the parties, and applicable law,

       IT IS ORDERED that if the Debtors do not have a bona fide purchase agreement in an

amount to satisfy all obligations to Creditor as well as the costs of sale related to the property

located at 17431 Empress, Greenwell Springs, LA, or the property is not sold before ninety (90)

days from February 8, 2019, attorney for Creditor shall submit an ex parte order to the court

granting relief from the automatic stay, after ten (10) day notice to Debtors with respect to the

property located at 17431 Empress, Greenwell Springs, LA, on which NATIONSTAR

MORTGAGE LLC D/B/A MR. COOPER, holds a mortgage, thereby allowing NATIONSTAR

LLC D/B/A MR. COOPER, to begin foreclosure proceedings via state court proceedings or

otherwise.

       Baton Rouge, Louisiana, February 14, 2019.

                                   s/ Douglas D. Dodd
                                  DOUGLAS D. DODD
                          UNITED STATES BANKRUPTCY JUDGE


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